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            IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF WISCONSIN


LEAGUE OF WOMEN VOTERS OF
WISCONSIN, PATRICIA ANN
VILLARREAL, SASHA ALBRECHT,

         Plaintiffs,

    v.                                  Case No. 19-CV-1029

DEAN KNUDSON, JULIE M. GLANCEY,
ROBERT F. SPINDELL, JR., MARK L.
THOMSEN, ANN S. JACOBS, MARGE
BOSTELMANN, MEAGAN WOLFE,

         Defendants.


     BRIEF IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
      PRELIMINARY INJUNCTION AND IN SUPPORT OF
   DEFENDANTS’ MOTION TO DISMISS OR, ALTERNATIVELY,
                  FOR A PULLMAN STAY
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                              INTRODUCTION

      Plaintiffs—the League of Women Voters and two registered Wisconsin

voters—contend that there is an imminent risk that the Wisconsin Elections

Commission     (the   “Commission”)    will   deactivate   over   200,000   voter

registrations without notice, in violation of the due process clause. But their

claims are premature in light of the still-developing events in Wisconsin state

courts.

      This case has arisen because of state court litigation that remains

ongoing—specifically, a mandamus order by a Wisconsin circuit court directing

the Commission to deactivate voter registrations pursuant to a state statute,

Wis. Stat. § 6.50(3), which addresses voters who have moved away from their

registered address. That order misread the plain language of the statute and

so the Commission has appealed it. Apart from that order, the Commission as

of the date of this filing has adopted no plan to deactivate any voter

registrations. Under these circumstances, Plaintiffs’ complaint should be

stayed under the abstention doctrine originating in Railroad Commission of

Texas v. Pullman Co., 312 U.S. 496 (1941) or, alternatively, dismissed as

unripe.

      Because the state circuit court order may be reversed—at minimum, it

remains unclear, for now, how the state litigation will be resolved—it remains

speculative whether any deactivations will occur and, if so, what notice, if any,
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would be accompany them. Simply put, the Commission may well decide to

give notice of any deactivations that may ultimately occur. Claims, like the

ones here, are not yet ripe if they rest upon contingent future events. While it

is true that those events may develop quickly, the ongoing uncertainty in state

court creates a ripeness problem.

      Even if dismissal is not warranted, a Pullman stay clearly is appropriate.

The pending state court litigation could (and should) resolve the state law issue

in a way that would obviate the need to consider Plaintiffs’ federal due process

claims, which is exactly when a Pullman stay should be granted. As explained

in the Commission’s state-court filings, the plain language of Wis. Stat.

§ 6.50(3) does not obligate the Commission to deactivate voter registrations

based solely on the data it has received about potential address changes.

Absent either a state law obligation imposed on the Commission or concrete

plans by it to deactivate registrations, no due process claim arises based on

needing to notify voters before deactivations occur.

      For these reasons, this Court should not reach Plaintiffs’ preliminary

injunction motion. Even if it did, denial would be appropriate. A preliminary

injunction is available only upon a showing of “likely” irreparable harm, and

the uncertainty surrounding the state court litigation and the Commission’s

deactivation plans means that too much is unknown to enter a preliminary

injunction now.


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      To be sure, the state court litigation may develop quickly in a way that

changes this analysis. But unless and until that happens, there is not enough

clarity to proceed now. The case should be dismissed or stayed and Plaintiffs’

motion for a preliminary injunction denied.

                           STATEMENT OF FACTS

I.    The Commission contacts Wisconsin voters who may have moved
      away from their voter registration address.

      Along with 28 other states, Wisconsin participates in the Electronic

Registration Information Center (“ERIC”), a private group that uses data from

the United States Postal Service and state Departments of Motor Vehicles to

help states identify registered voters who have potentially moved from their

registered voting address. (Plaintiffs’ Proposed Finding of Fact (“PPFOF”) 11 1;

Defendants’ Proposed Finding of Fact (“DPFOF”) 1.) ERIC flags voters whose

registration address—provided by the member states—does not match their

address listed in these other data sets and provides lists of such voters to

member states. (PPFOF 12–13.) ERIC supplied a list of these potential

“movers” to Wisconsin in early 2019. (PPFOF 14.)

      In June 2019, Commission staff recommended a process for using this

“movers” list that, in turn, could be considered by the Commission in its



      1  For the purpose of resolving Plaintiffs’ motion for a preliminary injunction
only, the Commission does not oppose Plaintiffs’ proposed findings of fact, except as
specified in its separately filed responses and objections to those proposed findings.

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decision-making process. It recommended mailing voters on the list asking

them to affirm their registration address or re-register at their new address if

they had in fact moved. (DPFOF 4.) If a voter did not respond, Commission

staff recommended that their registration be deactivated in summer 2021,

after voters had multiple election opportunities to affirm their current

registration address at their polling places. (PPFOF 18.) 2 Commission staff did

not recommend deactivating voters 30 days after sending the mailing,

pursuant to Wis. Stat. § 6.50(3). 3 (DPFOF 5.) After a June 2019 meeting, the

Commission did not adopt those recommendations in whole, but rather

approved a motion that only “[a]uthorize[d] staff to flag files of voters rather

than deactivating voters who do not respond to a Movers mailing after 30 days;

go forward with WisVote, poll book and MyVote updates; and assess new data

before initiating future mailings.” (DPFOF 6.)




      2  Plaintiffs assert that the Commission adopted a “policy” of deactivating voters
after a 12 to 24 month period (Pls.’ Br. 7), but they cite only this staff recommendation
memo for that so-called “policy.” The Commission did not adopt the recommendation,
so it remains just that—a recommendation.

      3 Wisconsin Stat. § 6.50(3) provides that “[u]pon receipt of reliable information
that a registered elector has changed his or her residence to a location outside of the
municipality, the municipal clerk or board of election commissioners shall notify the
elector by mailing a notice by 1st class mail to the elector’s registration address
stating the source of the information. . . . If the elector no longer resides in the
municipality or fails to apply for continuation of registration within 30 days of the
date the notice is mailed, the clerk or board of election commissioners shall change
the elector's registration from eligible to ineligible status.”

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      In October 2019, the Commission mailed the informational notices

contemplated in the June 2019 recommendations. (PPFOF 19–20.) As planned,

the mailing notified voters that the Commission had received information that

their home address potentially differed from their registration address.

(PPFOF 21.) It provided voters with information about how to re-register at

their new address or how to affirm that they still resided at their registered

address.   (PPFOF    21.)   Because   the   Commission    had   not   approved

deactivations, the mailing did not address potential deactivation as a

consequence of not responding to the mailing. (DPFOF 8.)

      Commission staff later recognized that “[t]here are no specific statutory

directives dictating actions the WEC must take as a result of the ERIC data

matching.” (DPFOF 9.) Subsequently, at its December 2, 2019, meeting, the

Commission approved a motion “direct[ing] staff to pursue legislation

establishing specific procedures governing the ERIC Movers mailing and/or

granting rulemaking authority to the Commission.” (DPFOF 10.)

II.   The Zignego state court action.

      On November 13, 2019, three Wisconsin taxpayers and voters sued the

Commission and five of its six commissioners in their official capacities in

Wisconsin state court, Zignego v. Wisconsin Election Commission, No. 19-cv-

0449 (Wis. Cir. Ct. Ozaukee Cty.). (PPFOF 25.) These plaintiffs allege that the

Commission is violating Wis. Stat. § 6.50(3) by not deactivating the


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registration status of voters who did not respond within 30 days after the

October 2019 notices were mailed. (PPFOF 25.)

      The plaintiffs moved for a temporary injunction or alternatively a writ

of mandamus. The Commission opposed the motion, arguing both that Wis.

Stat. § 6.50(3) does not apply to it and that the 2019 ERIC data, standing alone,

is not reliable information that a voter has moved, as the statute requires for

deactivations. The Commission therefore argued that the statute could not

supply a legal basis for ordering the Commission to deactivate registrations of

the over 200,000 voters who received the October 2019 mailings but had not

acted to continue their registrations.

      The circuit court held oral argument and issued an oral ruling on

December 13, 2019, in favor of the plaintiffs. (PPFOF 26.) It ruled that a writ

of mandamus would issue to compel the Commission to comply with Wis. Stat.

§ 6.50(3) and denied the Commission’s oral motion to stay the writ, deferring

to the appellate court to grant a stay. The court entered a written mandamus

order on December 17, 2019, that reads, in pertinent part:

                  Defendant Wisconsin Election Commission is
            hereby ordered to comply with the provisions of § 6.50(3)
            and deactivate the registrations of those electors who
            have failed to apply for continuation of their registration
            within 30 days of the date the notice was mailed under
            that provision.

(PPFOF 26.)



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       The Commission filed a notice of appeal and a motion to stay the writ of

mandamus with the Wisconsin Court of Appeals. The appellate court has held

the stay motion in abeyance, apparently because the Zignego Plaintiffs have

since filed a petition to bypass the Court of Appeals in the Wisconsin Supreme

Court, which remains pending. Due to the Court of Appeals’ decision to hold

the motion in abeyance, the Commission on January 8, 2020, moved the

Supreme Court to stay the circuit court’s mandamus order, and that motion,

again, remains pending.

       Because the Commission has not yet deactivated any voter registrations,

the Zignego Plaintiffs have moved the circuit court to hold the Commission in

contempt—a hearing on that motion is set for January 13, 2020.

III.   This federal court action.

       On December 17, 2019, Plaintiffs League of Women Voters of Wisconsin

and two Wisconsin voters, Patricia Ann Villarreal and Sasha Albrecht, filed

this 42 U.S.C. § 1983 due process action against all six commissioners of the

Wisconsin Elections Commission and its Administrator, in their official

capacities. (Dkt. 1.) They allege that, due to the order in the state court Zignego

litigation, the Commission must “immediately remove 234,039 registered

Wisconsin voters . . . from the voter registration rolls within 30 days of the

Commission’s mailing of the [2019 ERIC] letter.” (Dkt. 1:4 ¶ 7 (emphasis

omitted).) Because those voters “were not given notice that they were facing


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removal from the rolls; nor were they provided notice of the timeline within

which to take action to remain registered to vote in Wisconsin,” Plaintiffs

allege they were deprived of their procedural due process rights. (Dkt. 1:4–5

¶ 8.)

        On December 20, 2019, Plaintiffs filed a motion for preliminary

injunction. (Dkt. 7.)

                                  ARGUMENT

        This Court should decline to reach the merits of Plaintiffs’ preliminary

injunction motion at this time for two reasons: First, the case is, so far, unripe

because too many uncertainties remain about whether, when, and how any

voter registration deactivations might occur; and second, at a minimum, the

case should be stayed pending resolution of the ongoing state court litigation

that might avoid the need to address Plaintiffs’ federal due process claims.

These considerations apply to both of Plaintiffs’ due process claims—one based

on procedural due process and another based on detrimental reliance—because

they both turn on the purported lack of notice before deactivations. If the Court

nevertheless reaches the motion, it should be denied because Plaintiffs cannot

show likely irreparable harm and that they will likely succeed on the merits,

again because the status of deactivations remains unclear.




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I.    This case properly could be dismissed without prejudice because
      Plaintiffs’ claims are not yet ripe.

      Under Article III of the Constitution, federal courts have jurisdiction

only over “cases” and “controversies.” “The ripeness doctrine arises out of the

Constitution’s case-or-controversy requirement, as claims premised on

uncertain or contingent events present justiciability problems.” Church of Our

Lord & Savior Jesus Christ v. City of Markham, 913 F.3d 670, 676 (7th Cir.

2019). “A claim is not ripe for adjudication if it rests upon ‘contingent future

events that may not occur as anticipated, or indeed may not occur at all.’” Texas

v. United States, 523 U.S. 296, 300 (1998) (citation omitted). When a claim is

unripe, a federal court lacks subject matter jurisdiction over it. See Flying J

Inc. v. City of New Haven, 549 F.3d 538, 544 (7th Cir. 2008). While

circumstances could change, Plaintiffs’ due process claims here are as-yet

unripe and could be dismissed without prejudice for two reasons.

      First, Plaintiffs can only speculate that deactivations will occur soon.

Without deactivations, Plaintiffs will have no due process claim—the

Commission obviously need not notify voters prior to deactivating their

registrations if no deactivations will occur. The only potentially foreseeable

deactivations—those mandated in the state court Zignego litigation—should

not occur because state appellate courts should reverse the circuit court’s

plainly erroneous mandamus order. That order is the only source of an



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impending deactivation obligation, and the Commission has presented strong

statutory arguments for its reversal on appeal. Of course, interim

developments in Zignego could change the landscape—but unless and until a

material change occurs, Plaintiffs’ claims are not yet ripe.

      Apart from that order, the Commission has never approved a

deactivation plan based on the most recent ERIC data, whether immediately,

within 12 to 24 months, or otherwise. (DPFOF 3, 5–6.) Moreover, the

Commission on December 2, 2019, voted to pursue legislation with more

specificity about how to handle ERIC data. (DPFOF 9.)

      This means neither of Plaintiffs’ due process claims is presently ripe.

Their procedural due process claim turns on an “an adequate opportunity to be

heard prior to the deactivation of their registration” (Dkt. 1:25–26 ¶ 73.) But

no deactivations would mean no notice is needed. The same is true for their

second due process claim, which alleges that “[a]bsent a new letter that

provides adequate notice, these voters who are on the immediate purge list will

detrimentally rely on the Commission’s representation that they need not

re-register at the polls.” (Dkt. 12:29.) Again, no deactivations would mean no

notice and no due process claim. Both claims properly could be dismissed

without prejudice unless and until a claim actually ripens. As the Commission

argues in the Zignego state court appeal, there are very good state-law-based

reasons those claims will not ripen—most prominently, the state statute at


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issue, Wis. Stat. § 6.50(3), neither applies to the Commission nor does it require

deactivations based on ERIC data, alone.

      Second, even if deactivations might occur, it is not yet clear what notice

would accompany them. When considering a due process claim like Plaintiffs’,

the ripeness requirement is especially important if it remains unclear what

process will accompany the alleged deprivation at issue. For instance, in

Thomas v. City of New York, 143 F.3d 31, 34 (2d Cir. 1998), taxi drivers

challenged new licensing requirements on due process grounds. But because

the challenged regulations did not require any specific proceedings before

licenses would be denied, the court could not guess what proceedings the

government would use before denying licenses. Id. at 34–36. That uncertainty

meant a pre-enforcement due process challenge was not ripe. Id.; see also Phila.

Fed’n of Teachers, Am. Fed’n of Teachers, Local 3 v. Ridge, 150 F.3d 319, 324

(3d Cir. 1998) (procedural due process claim not ripe due to “a great deal of

uncertainty regarding how the statute will operate against [the] plaintiffs”);

Cronin v. FAA, 73 F.3d 1126, 1131–32 (D.C. Cir. 1996) (same, where it was

“uncertain whether any employees will in fact be subjected to the permanent

employment bar without the benefit of procedural due process”).




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      Both of Plaintiffs’ claims that voter registration deactivations without

notice will violate due process 4 are not ripe for this very reason. Like in

Thomas, Plaintiffs here challenge potential deactivations but point to no

definite plan for procedures to accompany that action that can be analyzed

now. In Thomas, the government had not yet identified what procedures would

accompany taxi license denials; here, the Commission has said nothing about

what notice will accompany deactivations, if any. In both cases, therefore, a

due process claim is premature and unripe without more clarity on the

procedures that would accompany the challenged action. Put simply, it is too

soon to claim that the Commission will not provide adequate notice of

deactivations, if they ultimately occur.

      The bottom line is that uncertainty exists and this Court properly could

dismiss Plaintiffs’ claims as unripe. If, hypothetically, the Zignego litigation is

resolved in favor of the state-court Plaintiffs or other events change the

landscape, this Court could then evaluate the adequacy of any deactivation

notice or lack thereof. But until then, Plaintiffs’ claims rest on shifting sands.




      4  Although Plaintiffs’ second claim is styled as a “detrimental reliance” rather
than a “procedural” due process claim, it also rests on the lack of pre-deactivation
notice. (See Pls.’ Br. 29 (“Absent a new letter that provides adequate notice, these
voters who are on the immediate purge list will detrimentally rely on the
Commission’s representation that they need not re-register at the polls.”).)

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II.   In the alternative, this case should be stayed until ongoing state
      litigation is resolved.

      Setting aside ripeness, this case clearly should be stayed due to the

unresolved Zignego state court litigation. If that litigation ends with an

appellate decision that Wis. Stat. § 6.50(3) does not obligate the Commission

to deactivate voter registrations based on ERIC data alone, that would obviate

the need for this Court to consider Plaintiffs’ due process claims. A temporary

stay under the Pullman abstention doctrine and general equitable principles

would be appropriate until the state litigation resolves these issues.

            A.    A Pullman stay should be granted until state courts
                  resolve the Commission’s obligations under Wis. Stat.
                  § 6.50(3).

      Plaintiffs’ federal due process claims are premature under the abstention

doctrine originating in Railroad Commission of Texas v. Pullman Co., 312 U.S.

496 (1941), which provides that “abstention generally is appropriate when

determination of an unsettled question of state law by a state court could avoid

the need for decision of a substantial question of federal constitutional law.”

City of Houston v. Hill, 482 U.S. 451, 476 (1987) (Powell, J., concurring). A

court should abstain under Pullman “when (1) there is a substantial

uncertainty as to the meaning of the state law and (2) there exists a reasonable

probability that the state court’s clarification of state law might obviate the

need for a federal constitutional ruling.” Wis. Right to Life State Political



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Action Comm. v. Barland, 664 F.3d 139, 150 (7th Cir. 2011) (citation omitted).

This abstention doctrine rests on “considerations of comity and federalism and

applies when ‘the resolution of a federal constitutional question might be

obviated if the state courts were given the opportunity to interpret ambiguous

state law.’” Id. (citation omitted).

      In Pullman, which tracks this case in key respects, a Texas state agency

issued a regulation regarding the staffing required on railroad cars, which the

plaintiffs challenged on various federal constitutional grounds. 312 U.S. at

497–98. The plaintiffs also tacked on a state law claim that the agency lacked

authority to issue the regulation. Id. at 448–50. Of course, if the agency lacked

such authority under state law, the federal courts would not need to address

any thorny federal constitutional issues. Id. at 501. Therefore, because a state

court could resolve the dispute by deciding the unsettled state law issue, the

Supreme Court held that the “district court should [have] exercise[d] its wise

discretion by staying its hands.” Id.

      Here, too, Wisconsin state courts may resolve an open state elections law

question in a way that would obviate the need to decide Plaintiffs’ federal due

process claim. Again, this case has arisen primarily because of the Zignego

mandamus order directing the Commission to “comply with the provisions of

[Wis. Stat.] § 6.50(3) and deactivate the registrations of those electors who have

failed to apply for continuation of their registration within 30 days of the date


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the notice was mailed under that provision.” (PPFOF 26.) The registered voters

affected by this state court order are the ones who Plaintiffs allege will lose

their federal due process rights by being removed from voter rolls without

proper notice. (Dkt. 1:4–5 ¶¶ 7–8.)

      The Commission is appealing the Zignego decision on two statutory

grounds.

      First, under Wis. Stat. § 6.50(3), deactivation is triggered only by

“reliable information” that a voter changed residence to a location outside the

municipality in which they registered. Here, the state circuit court did not

apply that standard when ordering the mass deactivation of hundreds of

thousands of voters based on just one information source, ERIC data. The last

time the Commission used ERIC data, it learned that a meaningful portion of

voters included in the data had not in fact moved away from their registration

address. (DPFOF 11.) It would therefore be improper to deactivate over

200,000 voter registrations en masse based only on this ERIC data.

      Second, Wis. Stat. § 6.50(3) does not on its face obligate the Commission

to deactivate any voter registrations because the statute’s plain text applies

only to local election officials, not the Commission: It reads that if “the

municipal clerk or board of election commissioners” receives “reliable

information” that a voter has moved outside the municipality, it must mail

notice to the voter of that information; if the voter does not respond, “the clerk


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or board of election commissioners shall change the elector’s registration from

eligible to ineligible status.” That statute does not obligate the Commission to

deactivate registrations because it is neither the “clerk” nor the “board of

election commissioners,” the only two officials empowered to deactivate under

Wis. Stat. § 6.50(3).

      This live state court dispute over Wis. Stat. § 6.50(3) clearly satisfies

Pullman’s first requirement that “there is a substantial uncertainty as to the

meaning of the state law.” Wis. Right to Life, 664 F.3d at 150.

      The second Pullman factor—“a reasonable probability that the state

court’s clarification of state law might obviate the need for a federal

constitutional ruling,” id. at 150—also is met here. If, for example, Wisconsin

appellate courts decide either that Wis. Stat. § 6.50(3) does not apply to the

Commission or that the ERIC data is not sufficiently reliable, no voters will

face imminent deactivation and thus no federal due process claim could arise.

Put differently, the only reason Plaintiffs purportedly face imminent,

irreparable harm is because the state trial court in Zignego ordered the

Commission to deactivate voter registrations on the basis of state law—and

Plaintiffs recognize as much in their brief. (See Pls.’ Br. 31 (“[I]f the Zignego

. . . mandamus order stands, then Defendants will have changed the rules and

procedures regarding voter registration in Wisconsin elections. . . . [This]

constitutes an unconstitutional about-face in the state’s election rules and


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procedures, in violation of the Due Process Clause.”); 35 (“[I]f the purge is

carried out pursuant to a state court order that is not stayed and the

requirements of which are not preliminarily enjoined by this Court, then the

balance of this action . . . will necessarily change.”).) Simply put, if Zignego is

reversed on appeal, Plaintiffs will not face deactivation and thus will have no

due process claim.

      Although Plaintiffs contend that their due process claims are

independent of the Zignego state litigation, that is simply incorrect. Zignego

will not just resolve the “timeline set by state statutes or state court decisions

for removal of ERIC-identified voters from the rolls” (Pls.’ Br. 4), it will resolve

whether the Commission is obligated at all under Wis. Stat. § 6.50(3) to take

such action or whether the statute can require wholesale deactivation of

hundreds of thousands of voters based solely on the ERIC data in question. A

negative answer to either question would undercut Plaintiffs’ due process

claim, meaning Pullman squarely applies here.

      It is not unusual for federal courts to abstain in cases that can be

resolved on state elections law grounds, even if relevant elections are drawing

near. For instance, in Fuente v. Cortes, 207 F. Supp. 3d 441, 444 (M.D. Pa.

2016), the plaintiff sought an injunction directing state elections officials to

place him on Pennsylvania’s 2016 presidential primary ballot, based on both

the federal constitution and state elections law. The court decided to abstain


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under Pullman because resolving the state law issue could obviate the federal

constitutional issue and “[a]n erroneous decision so temporally close to the

election could seriously disrupt Pennsylvania’s election process.” Id. at 450. 5

This case is not meaningfully different. This Court should allow state courts to

determine the scope of state elections law before wading into Plaintiffs’ federal

due process claims.

             B.     Equitable principles of comity and federalism also
                    counsel against premature intervention in state
                    elections procedure.

      For reasons similar to those discussed above under Pullman, principles

of comity and federalism also weigh against the Court involving itself now in

this ongoing state elections dispute.

      These principles underlie the Anti-Injunction Act, 28 U.S.C. § 2283, and

counsel in favor of abstention, even though the Act does not absolutely bar

Plaintiffs’ claims. “The Act’s core message is one of respect for state courts,”

and it “broadly commands that [state] tribunals ‘shall remain free from

interference by federal courts.’” Smith v. Bayer Corp., 564 U.S. 299, 306 (2011)



      5 See also Moore v. Hosemann, 591 F.3d 741, 746 (5th Cir. 2009) (abstention
appropriate where constitutional challenge to election official’s imposition of deadline
for turning in ballot qualifying papers could be resolved on state law grounds);
Burdick v. Takushi, 846 F.2d 587, 589 (9th Cir. 1988) (same result, in constitutional
challenge to election official’s decision not to allow write-in votes); Bd. of Cty. Comm’rs
of Douglas Cty. v. Hayden, 715 F. Supp. 313, 316 (D. Kan. 1989) (same result, in
constitutional challenge to census procedure that underlay voting district
reapportionment).

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(citation omitted). Under the Act, a federal court “may not grant an injunction

to stay proceedings in a State court,” but there a few limited exceptions,

including for a section 1983 action like this one. 28 U.S.C. § 2283; see Mitchum

v. Foster, 407 U.S. 225, 242 (1972) (explaining that claims that arise under

42 U.S.C. § 1983 fall within the “expressly authorized by Act of Congress”

exception to the Anti-Injunction Act).

       That does not end the analysis, however, because federal courts “may

use § 1983 to support an anti-suit injunction, notwithstanding § 2283, only

when justified in light of ‘the principles of equity, comity, and federalism that

must restrain a federal court when asked to enjoin a state court proceeding.’”

O’Keefe v. Chisholm, 769 F.3d 936, 940 (7th Cir. 2014) (citation omitted);

see also Mitchum, 407 U.S. at 243 (finding exception to Anti-Injunction Act

applies does not “qualify in any way the principles of equity, comity, and

federalism that must restrain a federal court when asked to enjoin a state court

proceeding”); Owens-Corning Fiberglas Corp. v. Moran, 959 F.2d 634, 635

(7th Cir. 1992) (“Although § 1983 creates an exception to the full force of § 2283,

a federal court must consider principles of federalism and comity before issuing

an injunction.” (citation omitted)).

      Federal court intervention into Wisconsin’s electoral process would be

inappropriate at this juncture, given the ongoing uncertainty about how state

courts will resolve the state-law statutory issue and, if necessary, the notice


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issue. The Supreme Court has warned that “[c]ourt orders affecting elections,

especially conflicting orders, can themselves result in voter confusion and

consequent incentive to remain away from the polls” and that “[a]s an election

draws closer, that risk will increase.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)

(per curiam).

      The interaction between the Commission’s uncertain state law

deactivation obligations and any hypothetical notice ordered by this Court

could create significant voter confusion, just as Purcell warns against. Imagine

one plausible scenario: (1) while the Zignego case proceeds, this Court grants

a preliminary injunction requiring the Commission to notify voters on the

ERIC list that they face deactivation unless they reaffirm their address or

re-register at a new one; (2) the Commission issues that notice; and then (3) a

state appellate court reverses the Zignego order. Voters would think that they

have an obligation to update their registration or else face imminent

deactivation (due to the notice ordered by this Court), but the Commission

would have no impending deactivation obligation (due to the state appellate

decision).

      State elections administration would be best served by letting the state

court litigation play out. If Zignego ends with a directive to the Commission to

deactivate voters without notice that Plaintiffs believe is required, Plaintiffs




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could then seek relief from this Court without risking voter confusion created

by competing state and federal court orders.

                                  *     *      *

       In sum, because pending state court litigation may obviate Plaintiffs’

claims on state law grounds and immediate federal court intervention could

create confusion, this Court should abstain from considering Plaintiffs’ due

process claims.

III.   If this Court were to reach it, Plaintiffs’ preliminary injunction
       motion should be denied for similar reasons.

       If the Court were to reach Plaintiffs’ motion for a preliminary injunction,

it should be denied. Given the uncertainty described above, they have not

shown that they face likely irreparable harm absent a preliminary injunction.

Again, state appellate courts should agree that no voter registrations should

be deactivated now. Thus, Plaintiffs can only guess that their alleged harm is

“likely” and their motion should be denied.

       A.    Preliminary injunction legal standard.

       A preliminary injunction is an extraordinary and drastic remedy and is

never awarded as a matter of right. Munaf v. Geren, 553 U.S. 674, 689–90

(2008); Boucher v. Sch. Bd. of Greenfield, 134 F.3d 821, 823 (7th Cir. 1998).

“[A]n injunction requiring an affirmative act by the defendant” must be

“cautiously viewed” and granted only “sparingly.” Graham v. Med. Mut. of



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Ohio, 130 F.3d 293, 295 (7th Cir. 1997) (citation omitted). “Preliminary relief

is properly sought only to avert irreparable harm to the moving party.”

Chi. United Indus., Ltd. v. City of Chicago, 445 F.3d 940, 944 (7th Cir. 2006).

A preliminary injunction “may only be awarded upon a clear showing that

the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 22 (2008).

      A “moving party must show that it has ‘(1) no adequate remedy at law

and will suffer irreparable harm if a preliminary injunction is denied and

(2) some likelihood of success on the merits.’” Wis. Right To Life, 751 F.3d at

830 (citation omitted); Winter, 555 U.S. at 20.

      B.      Due to the present uncertainty, a preliminary injunction
              would be inappropriate because Plaintiffs cannot show
              that they likely will suffer irreparable harm.

      A plaintiff seeking preliminary relief must “demonstrate that

irreparable    injury    is   likely   in    the   absence   of   an   injunction.”

Winter, 555 U.S. at 22. “Issuing a preliminary injunction based only on a

possibility of irreparable harm is inconsistent with [the Supreme Court’s]

characterization of injunctive relief as an extraordinary remedy that may only

be awarded upon a clear showing that the plaintiff is entitled to such relief.”

Id. Without demonstrating likely irreparable harm, the Court need not decide

any other question. See Abbott Labs v. Mead Johnson & Co., 971 F.2d 6, 19 &




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n.6 (7th Cir. 1992) (plaintiff’s failure to demonstrate irreparable harm “dooms

a plaintiff's case and renders moot any further inquiry”).

      Plaintiffs cannot show that any irreparable harm is likely absent a

preliminary injunction for largely the same reasons that their claims are not

ripe. (See supra Argument I.) Plaintiffs face “likely” irreparable harm,

assuming the validity of their due process theory, only if the Commission will

likely deactivate voter registrations without notice. But too much uncertainty

exists to foresee with any clarity that this will happen. Again, the Commission

has never adopted a motion to deactivate voter registrations (DPFOF 3, 6, 10)

and there are too many contingencies otherwise in play in Zignego, especially

because the mandamus order should be reversed on appeal. Because “a

plaintiff cannot obtain a preliminary injunction by speculating about

hypothetical future injuries,” E. St. Louis Laborers’ Local 100 v. Bellon

Wrecking & Salvage Co., 414 F.3d 700, 705–06 (7th Cir. 2005), Plaintiffs’

preliminary injunction motion should be denied.

                                CONCLUSION

      This case should be dismissed without prejudice as unripe or stayed until

the Zignego state court litigation ends. If this Court, however, decides that the

case should proceed, Plaintiffs’ motion for a preliminary injunction should be

denied.




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     Dated this 10th day of January, 2020.
                                   Respectfully submitted,

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